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  EXHIBIT JJ
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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK


XINYUAN WU, et al.,

                            Plaintiffs,
                                                      TEMPORARY RESTRAINING
              – against –                             ORDER
                                                      25-cv-01979 (NCM)
TODD M. LYONS,

                            Defendant.



NATASHA C. MERLE, United States District Judge:

       WHEREAS, upon review of plaintiffs’ motion for a temporary restraining

order, the accompanying declarations and the exhibits attached thereto, the

memorandum of law submitted in support, as well as the parties’ arguments raised

during the April 11, 2025, hearing on plaintiffs’ motion, and for good cause shown; and

       WHEREAS, for the reasons set forth on the record, the Court finds that

plaintiffs have shown by a preponderance of the evidence a likelihood of success on the

merits of their claim pursuant to the Administrative Procedure Act, 5 U.S.C. §§ 551, et

seq., that plaintiffs will likely suffer irreparable harm which cannot be remedied by

money damages, and that the balance of hardships and public interest weigh in favor of

temporary injunctive relief; it is hereby

       ORDERED that, pending further order of this Court, defendant is enjoined

from terminating plaintiff Wu’s Student and Exchange Visitor Information System

(“SEVIS”) record and F-1 visa status; and it is further




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       ORDERED that, pending further order of this Court, defendant must set aside

its decision to terminate plaintiffs’ visa statuses and plaintiff Wu’s SEVIS record; and it

is further

       ORDERED that this temporary restraining order shall be in effect for a period

of fourteen (14) days from the entry hereof, after which it shall expire absent further

order of the Court; and it is further

       ORDERED that the bond requirement of Rule 65(c) is waived; and it is finally

       ORDERED that by April 16, 2025, the parties shall meet and confer and submit

an appropriate briefing schedule for plaintiffs’ motion for a preliminary injunction,

which must conclude no later than April 22, 2025, so that the Court may hold a hearing

by April 24, 2025, if necessary.

                                                  /s/ Natasha C. Merle
                                                 NATASHA C. MERLE
                                                 United States District Judge


 Issued:       April 11, 2025
               Brooklyn, New York




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